             Case 6:18-bk-01852-CCJ      Doc 42    Filed 05/21/18    Page 1 of 2



                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

In re:

PINNACLE SERVICES, LLC,                                  Case No. 6:18-bk-01852-CCJ
                                                         Chapter 11
            Debtor.
________________________________/

         NOTICE OF FILING SECOND AMENDED CASH COLLATERAL BUDGET
             FOR EMERGENCY MOTION FOR AN ORDER AUTHORIZING
                     THE USE OF CASH COLLATERAL (DOC. 2)

         Debtor, Pinnacle Services, LLC, by and through its undersigned proposed counsel,

hereby gives this Notice of Filing an amended cash collateral budget and attached hereto as

Exhibit A.


                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished

via electronic notice through CM/ECF system to all parties registered to receive notices via

CM/ECF, this 21st day of May, 2018.

                                                  /s/ Michael A. Nardella
                                                  Michael A. Nardella, Esquire
                                                  Florida Bar No. 51265
                                                  Nardella & Nardella, PLLC
                                                  250 East Colonial Drive, Suite 102
                                                  Orlando, Florida 32801
                                                  Phone: (407) 966-2680
                                                  Fax: (407) 966-2681
                                                  mnardella@nardellalaw.com
                                                  afebres@nardellalaw.com

                                                  PROPOSED COUNSEL TO DEBTOR




                                             1
                                        Case 6:18-bk-01852-CCJ                                  Doc 42            Filed 05/21/18                         Page 2 of 2


                                                              PINNACLE SERVICES USA
                                                                ESTIMATED BUDGET

                                                                   May-18   Jun-18     Jul-18   Aug-18   Sep-18   TOTALS      Comments
REVENUES:
                                           Sales and Services      40,000   40,000    40,000    40,000   40,000     200,000
                                                                      -        -
TOTAL REVENUE                                                      40,000   40,000    40,000    40,000   40,000     200,000


COST OF GOODS SOLD
                               SUBCONTRACTORS (SAM)                 2,500    2,500     2,500     2,500    2,500      12,500 Sam
                                    COST OF GOODS SOLD              4,500    5,000     5,000     5,000    5,000      24,500 bulbs, wiring, ballasts, parts
                                      TOLLS AND PARKING              100      100       100       100      100          500
                                                       Permits        -        -         -         -        -
TOTAL COST OF GOODS SOLD                                            7,100    7,600     7,600     7,600    7,600      37,500


TOTAL INCOME                                                       32,900   32,400    32,400    32,400   32,400     162,500


UTILITIES
Electric                                                              90      100       100       110      110          510
TOTAL UTILITIES                                                       90      100       100       110      110          510


AUTOMOBILE EXPENSES
DODGE RAM LEASE                                                      842      842       842       842      842        4,210
AUTO PARTS SUPPLIES                                                  100      100       100       100      100          500
FUEL                                                                2,200    2,200     2,200     2,200    2,200      11,000
REPAIRS AND MAINTENANCE, OIL CHANGES                                2,000    1,500     2,000     1,500    2,000       9,000
TOTAL AUTOMOBILE EXPENSES                                           5,142    4,642     5,142     4,642    5,142      24,710


SALARIES & WAGES
SALARIES & WAGES                                                    9,500    9,500     9,500     9,500    9,500      47,500 Sonny - 4800 / Elise - 2900 / Night Watch - 1200/
Stanton Electric cost to use his license to repair electric                  1,000     1,000     1,000    1,000       4,000
John Daghlarian                                                     2,000    2,000     2,000     2,000    2,000      10,000
Rick Sitzer                                                         2,000    2,000     2,000     2,000    2,000      10,000
TOTAL PAYROLL EXPENSE                                              13,500   14,500    14,500    14,500   14,500      71,500


ADMINISTRATIVE & OFFICE EXPENSES
OFFICE RENT                                                          850      850       850       850      850        4,250
CELL PHONES                                                           50       50        50        50       50          250
OFFICE INTERNET/PHONES                                               180      180       180       180      180          900
ACCOUNTING FEES                                                       -        -        575        -        -           575 Quarterly (575)
COMPUTER EXPENSES (repairs)                                                             200                             200
CASUAL LABOR                                                         400      300       400       400      400        1,900
COPIER LEASE PAYMENT                                                 381      381       381       381      381        1,905
OFFICE SUPPLIES, POSTAGE,FED EX, MISC.                               150      150       150       150      150          750
SunTrust                                                            3,000    3,000     3,000     3,000    3,000      15,000
TOTAL ADMINISTRATIVE                                                5,011    4,911     5,786     5,011    5,011      25,730


INSURANCE EXPENSE
AUTO INSURANCE                                                        -                2,260                          2,260 QUARTERLY (2260)
INSURANCE EXPENSES - OTHER
GENERAL LIABILITY                                                   1,456                        1,456                2,912 1 DOWN PAYMENT AND Quarterly
TOTAL INSURANCE EXPENSES                                            1,456      -       2,260     1,456      -         5,172


Business Backers signed loan                                        1,000    1,000     1,000     1,000    1,000       5,000




TOTAL EXPENSES                                                     26,199   25,153    28,788    26,719   25,763     132,622


NET OPERATING INCOME (NOI)                                          6,701    7,247     3,612     5,681    6,637      29,878




                                                                            EXHIBIT A
